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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

UNITED STATES OF AMERICA,      )               CR 11-01-H-DWM-2
                               )
               Plaintiff,      )
                               )
     vs.                       )               ORDER
                               )
ROBERT SHANE WILKINS,          )
                               )
               Defendant.      )
______________________________ )

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on April 14, 2011. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

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422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Robert Shane Wilkins’ guilty

plea after Wilkins appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to the charge of conspiracy to sexually

exploit children in violation of 18 U.S.C. § 2251(a), (e) (Count I), sexual

exploitation of children in violation of 18 U.S.C. § 2251(a) (Count II), conspiracy

to distribute child pornography in violation of 18 U.S.C. § 2252A(a)(2) (Count

III), and distribution of child pornography in violation of 18 U.S.C. § 2252A(a)(2)

(Count IV) as set forth in the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (dkt #

50), and I adopt them in full, including the recommendation to defer acceptance of

the plea until sentencing when the Court will have reviewed the Presentence

Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Robert Shane Wilkins’

motion to change plea (dkt # 37) is GRANTED.

      DATED this 11th day of May, 2011.




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